Case 2:23-cv-00308-JCM-VCF Document 37-1 Filed 02/23/24 Page 1 of 8




                   EXHIBIT 1
Amended Application for Foreign Judgment
                          ECF No. 35
     Case
      Case2:23-cv-00308-JCM-VCF
           2:23-cv-00308-JCM-VCF Document
                                  Document37-1
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                                               Filed02/23/24
                                                     02/23/24 Page
                                                               Page12ofof38




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 5     KAEMPFER CROWELL
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 7     Telephone: (702) 792-7000
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 8     E-Mail: blehtinen@kcnvlaw.com

 9     Attorneys for Iron Rock Ventures, LLC,
       Successor In Interest to Claims of Virgin Scent, Inc.
10
                                    UNITED STATES DISTRICT COURT
11
                                           DISTRICT OF NEVADA
12
       VIRGIN SCENT, INC.,                                Case No. 2:23-cv-00308-JCM-VCF
13
                              Plaintiff,
14                                                        AMENDED APPLICATION FOR
       vs.                                                FOREIGN JUDGMENT
15
       BT SUPPLIES WEST, INC.,
16
                              Defendant.
17
18                    Plaintiff/Judgment Creditor Virgin Scent, Inc. by its successor in interest Iron Rock

19    Ventures, LLC files this Amended Application for Foreign Judgment pursuant to NRS 17.350 and

20    registers an exemplified copy of the following judgment:

21                    1.     The June 30, 2023 Second Amended Judgment from the United States

22    District Court, Central District of California in Case No. 2:21-cv-00184-DMG-AS, in favor of

23

24

      3644315_1 18835.4                                                                          Page 1 of 3
     Case
      Case2:23-cv-00308-JCM-VCF
           2:23-cv-00308-JCM-VCF Document
                                  Document37-1
                                           35 Filed
                                               Filed02/23/24
                                                     02/23/24 Page
                                                               Page23ofof38




 1    Plaintiff/Judgment Creditor, Virgin Scent, Inc., and against Defendant, BT Supplies West, Inc., in

 2    the amount of $17,620,000.00. An exemplified copy of the judgment is attached as Exhibit 1.

 3                    I declare under penalty of perjury that the foregoing is true and correct.

 4     Dated: Friday, February 23, 2024                     KAEMPFER CROWELL

 5

 6                                                          Louis M. Bubala III, No. 8974
                                                            Brittney Lehtinen, No. 15949
 7
                                                            Attorneys for Iron Rock Ventures, LLC.
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           2:23-cv-00308-JCM-VCF Document
                                  Document37-1
                                           35 Filed
                                               Filed02/23/24
                                                     02/23/24 Page
                                                               Page34ofof38




 1                                     CERTIFICATE OF SERVICE

 2                    Pursuant to Fed. R. Civ. P. 5(b), I certify that I am an employee of Kaempfer

 3    Crowell, that I am over the age of 18, and that I am not a party to the above-referenced case. I

 4    further certify that on Friday, February 23, 2024, the forging AMENDED APPLICATION FOR

 5    FOREIGN JUDGMENT was filed and served as indicated below.

 6      X     BY NOTICE OF ELECTRONIC FILING: through Electronic Case Filing System of

 7    the United States District Court, District of Nevada, to the individuals and/or entities at their email

 8    addresses as set forth below:

 9
        MARTIN L. WELSH on behalf of Defendant BT SUPPLIES WEST, INC.
10      mwelsh@lvlaw.com, k.bratton@hayesandwelsh.onmicrosoft.com, m.mchenry@lvlaw.com

11      MEGAN K.M. MCHENRY on behalf of Defendant BT SUPPLIES WEST, INC.
        m.mayry@lvlaw.com, l.finchio@nevlaw.com, mwelsh@lvlaw.com
12
13
14                    I declare under penalty of perjury that the foregoing is true and correct.

15    DATED: Friday, February 23, 2024

16
17                                                           By:________________________________
                                                             Desiree Endres
18                                                           An Employee of KAEMPFER CROWELL

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      3644315_1 18835.4                                                                            Page 3 of 3
Case 2:23-cv-00308-JCM-VCF Document 37-1
                                    35-1 Filed 02/23/24 Page 5
                                                             1 of 8
                                                                  4




                   EXHIBIT 1
         Exemplified Copy of Judgment
                         June 20, 2023
                       Case 2:23-cv-00308-JCM-VCF Document 37-1
                                                           35-1 Filed 02/23/24 Page 6
                                                                                    2 of 8
                                                                                         4

                                                                                         UNITED STATES DISTRICT COURT
                                                                                        CENTRAL DISTRICT OF CALIFORNIA

Virgin Scent, Inc.                                                                                             CASE NUMBER

                                                                                                                              2:21-cv-00184-DMG-AS
                                                                                                 PLAINTIFFS)
                            v.
BT Supplies West, Inc., et a1
                                                                                                                           EXEMPLIFIED CERTIFICATE

                                                                                                DEFENDANTS)

             I, Brian D. Karth, Clerk of the United States District Court, Central District of California, do hereby certify that the
annexed is a full, true and correct copy of the original SECOND AMENDED JUDGMENT


in the above entitled case, on file in my office.

             WITNESS my hand and seal of said Court this                                                          lst            day of               February
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    j                            ~,~ o                        d
                                        ~r 4                 a~                                                    Brian D. Karth, Clerk of Court
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                                                                                                                         Deputy Clerk
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                                                                                                                                          ~GASSt SNADKAlt~Y'AN

        I hereby certify that the foregoing certificate of the Clerk of the United States District Court, Central District of
California, is in due form and that the signature attached hereto is the t    sig at re of the Clerk of said Court.
                                                                                                                                ~CHAEL_R. i~l[:f~ER
February 1st, 2024
Date                                                                                                             United States Magistrate Judge

             I, Brian D. Karth, Clerk of the United States District Court, Central District of California, do hereby certify that
the Honorable                                                         Michael R. Wilner                          is, upon the date hereof, a U.S. Magistrate Judge of
said Court and that the signature to the above certificate is the true signature of said Magistrate Judge.

                                                    y hand and seal of said Court this                            1st            day of               February




                                                                                                                   Brian D. Karth, Clerk of Court


                                                                                                                   By:
                                                                                                                         Deputy Clerk


                                                                                                                                    ~tGAS!Sf S~tA~KAII~Y'~H
G-07 (1/24)                                                                                      EXEMPLIFIED CERTIFICATE
          Case 2:23-cv-00308-JCM-VCF Document 37-1
                                              35-1 Filed 02/23/24 Page 7
                                                                       3 of 8
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     se 2:21-cv-00184-DMG-AS Document 302 Filed 06/30/23 Page 1of 2 Page ID #:7223




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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   VIRGIN SCENT, INC., dba ART                 Case No. CV 21-184-DMG (ASx)
     NATURALS, a California corporation,
12                                               SECOND AMENDED JUDGMENT
                            Plaintiff,
13
                  v.
14   BT SUPPLIES WEST, INC., a Nevada
15   corporation,
16
17                          Defendant.

18
19   BT SUPPLIES BEST, INC., a Nevada

20   corporation,

21                          Counterclaimant,

22                  v.

23   VIRGIN SCENT, INC., dba ART

24   [NATURALS, a California corporation,

25
26   Counterdefendant.

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28

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         Case 2:23-cv-00308-JCM-VCF Document 37-1
                                             35-1 Filed 02/23/24 Page 8
                                                                      4 of 8
                                                                           4
     se 2:21-cv-00184-DMG-AS Document 3~2 Filed 06/30/23 Page 2 of 2         Page ID #:7224




 1         Pursuant to the Court's Order, filed June 30, 2023, granting in part Plaintiff Virgin
 2   Scent, Inc,'s motion to amend the j udgment [Doc. # 282],
 3         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Plaintiff Virgin
 4   Scent, Inc. recover of Defendant BT Supplies West, Inc. the sum of ~ 17,620,000; that
 5   ~ounterclailnant BT Supplies West, Inco take nothing as against Counterdefendant Virgin
 6   Scent, Inc.; and that the action be dismissed on the merits in favor of
 7   Plaintiff/Counterdefendant Virgin Scent, Inc.
 8
 9   [T IS SO► QRDERED.
10
11   DATED: June 3 0, 2023
12                                         DOLLY    ~'EE
                                           UNITED STATES DISTRICT JUDGE
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